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                                 IN THE UNITED STATES BANKRUPTCY COURT

                                        FOR THE DISTRICT OF OREGON

       In re                                           Case No. 21-31157-dwh7

       Tiffany A. Tavernier,

                             Debtor.

       VL Wallace Investments, LLC d/b/a               Adv. Proc. No. ______________________
       Transworld Business Advisors of North
       DFW,

                         Plaintiff,

       v.                                                  COMPLAINT (Non-Dischargeability)

       Tiffany A. Tavernier,

                         Defendant.




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      4832-3979-2118, v. 1

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               Plaintiff VL Wallace Investments, LLC d/b/a Transworld Business Advisors of North

      DFW (“Plaintiff’) files this Complaint against Defendant-Debtor Tiffany A. Tavernier and alleges

      as follows:

                                                      PARTIES

      1. Plaintiff VL Wallace Investments, LLC d/b/a Transworld Business Advisors of North DFW is

          a Texas limited liability company with its principal place of business in Collin, County, Texas

          and a creditor in the above-captioned bankruptcy case.

      2. Defendant Tiffany A. Tavernier (“Defendant”) is the debtor in the above-captioned Chapter 7

          case. Defendant may be served in accordance with F.R.B.P. 7004(b)(9) by mailing a copy of

          the summons and complaint to the Defendant at the address shown in the petition or to such

          other address as the Defendant may designate in a filed writing. Pursuant to F.R.B.P. 7004(g),

          service shall also be made upon the Defendant’s attorney pursuant to Federal Rule of Civil

          Procedure 5(b).

                                                JURISDICTION

      3. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b) and 1334(b).

      4. This matter is a core proceeding under 28 U.S.C. §§ 157(b)(2)(A), (I), and (J). The matters in

          controversy arise under 11 U.S.C. § 523.

      5. Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).

      6. The United States Bankruptcy Court for the District of Oregon may enter a final judgment

          resolving all issues raised by Plaintiff.

      7. On May 19, 2021, Defendant filed her voluntary petition for Chapter 7 bankruptcy.

      8. By means of this Complaint, Plaintiff is seeking that the debt described in the foregoing

          paragraphs be excepted from discharge pursuant to 11 U.S.C. §§ 523(a)(4) and 523(a)(6).
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                                               FACTUAL BACKGROUND

      9. Before the filing of the bankruptcy petition, on May 15, 2018, Plaintiff purchased the business

          brokerage franchise called Transworld Business Advisors of North DFW (“Transworld North

          DFW”) including its assets from its former owner Defendant Tiffany A. Tavernier. The terms

          of the transaction were memorialized in a particular Purchase Agreement between Tiffany A.

          Tavernier f/k/a Tiffany Swartz and Swartz Brokerage, LLC (collectively as “Seller”) and Vicki

          Wallace and Plaintiff VL Wallace Investments, LLC (collectively as “Purchaser”).

      10. As an integral part of the sale transaction and in support of the premium amount paid for the

          purchase of these assets, Defendant as Seller entered into a non-compete covenant with

          Plaintiff memorialized in Section 14(e) of the Purchase Agreement. Specifically, Plaintiff paid

          a premium for assurance that Defendant would be working with Plaintiff (as a producing

          salesperson) rather than competing against Plaintiff.

      11. Additionally, Defendant entered into an Independent Contractor Agreement Between Broker

          and Salesperson (“Independent Contractor Agreement”) on May 15, 2018, which included a

          non-compete covenant with Plaintiff by which Defendant agreed not to compete with Plaintiff

          within the State of Texas in the business brokerage industry for the term of the agreement (May

          15, 2018 to May 15, 2023) and for five (5) years thereafter.

      12. From November 2018, Scott Hartman1, Defendant’s close friend and co-conspirator, has

          through his firm Advantage Business Brokers, LLC (“Advantage”) provided Defendant with

          a platform to compete with Plaintiff in the business brokerage industry, in violation of the clear


      1
        Scott Hartman and his company Hartman Investments, LLC filed voluntary petitions for Chapter 7 bankruptcy on
      December 2, 2020 in the United States Bankruptcy Court for the Northern District of Texas-Dallas Division. Plaintiff
      filed Adversary Proceeding No. 21-03013-hdh against Scott Hartman on March 5, 2021. The docket call for that
      adversary proceeding is set for October 25, 2021.

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          terms of the non-compete covenants in the Purchase Agreement and the Independent

          Contractor Agreement.

      13. With the aid of Scott Hartman, Defendant has caused and continues to cause severe financial

          harm to Plaintiff by: (1) stealing Plaintiff’s listings for the sale of client businesses; and (2)

          otherwise usurping Plaintiff’s business brokerage opportunities.

      14. Defendant committed these acts with an objective substantial certainty of harm or a subjective

          motive to cause harm to Plaintiff as a direct competitor to Advantage. Further, Defendant

          committed these acts in violation of the terms of the Purchase Agreement and Independent

          Contractor Agreement while Defendant was supposed to be acting as a salesperson of Plaintiff.

      15. As a result of these acts, on May 7, 2020, Plaintiff filed a lawsuit in the 134th Judicial District

          Court, Dallas County, Texas against Defendant; Hartman Investments, LLC; Tiffany Swartz;

          Swartz Brokerage, LLC; and Advantage Business Brokers, LLC for numerous claims.

          Transworld’s claims against Defendant (and her company Swartz Brokerage, LLC)

          specifically included breach of contract, breach of fiduciary duty, malicious conversion of

          personal property, violation of the Texas Theft Liability Act, business disparagement, and civil

          conspiracy. A true and correct copy of Plaintiff’s First Amended Petition is attached hereto as

          Exhibit A and is hereby incorporated by reference.

      16. Before Plaintiff could fully adjudicate its claims against Defendant in state court by conducting

          a hearing making its interlocutory default judgment into a final judgment, on May 19, 2021,

          Defendant filed her voluntary petition for Chapter 7 bankruptcy. Transworld is named a

          creditor in Defendant’s bankruptcy proceeding.

      17. On August 3, 2021, Plaintiff conducted the Rule 2004 examination of Defendant. At the

          examination, Defendant’s testimony provided additional evidence of her acts of directly
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            competing with Plaintiff in violation of the non-compete covenants in the Purchase Agreement

            and Independent Contractor Agreement.

      18. The compensation obtained by Defendant from the sales transactions closing from November

            2018 to May 18, 20212 (the “Debt”) was incurred through (1) embezzlement/larceny; and (2)

            willful and malicious injury by Defendant which caused harm to Plaintiff. As a result, the Debt

            must be declared non-dischargeable pursuant to 11 U.S.C. §§ 523(a)(4) and 523(a)(6).

                                           FIRST CLAIM FOR RELIEF
                                    11 U.S.C. § 523(a)(4) – Larceny/Embezzlement

      19. Plaintiff realleges the allegations contained in the foregoing paragraphs as if fully set forth

            herein.

      20. Plaintiff owned, possessed, and had the right to possession of particular property. Specifically,

            Plaintiff owned two computer monitors and a mirror located at Plaintiff’s offices. Further,

            Plaintiff owned the confidential business forms for use in the business brokerage industry

            including Plaintiff’s forms entitled: Business Profile / Seller Questionnaire; Marketing

            Agreement; and Broker Confidentiality Agreement. Plaintiff also possessed listings for the sale

            of Plaintiff’s client’s businesses and had the right of possession of potential listings that were

            initiated by Defendant pursuant to the terms of the Purchase Agreement and Independent

            Contractor Agreement.

      21. Upon an argument with Plaintiff’s principal, Defendant wrongfully took the two computer

            monitors and mirror from Plaintiff’s offices. Defendant also wrongfully copied nearly word-

            for-word, line-by-line Plaintiff’s confidential business forms for use at Advantage. Finally,

            Defendant stole listings that rightfully belonged to Plaintiff from November 2018 to May 19,


      2
          Defendant filed for bankruptcy on May 19, 2021.
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          2021 in violation of the non-compete covenants in the Purchase Agreement and Independent

          Contractor Agreement.

      22. Defendant took Plaintiff’s property with the intent to convert it or deprive Plaintiff of the same.

      23. As such, Defendant’s wrongful conduct constitutes larceny under federal law.

      24. In the alternative, Defendant had the right to use the two computer monitors, mirror, and

          confidential business forms in her capacity as a salesperson of Plaintiff. Further, Defendant

          had the right to close listings that were clients or potential clients of Plaintiff and present

          potential buyers of businesses in Defendant’s capacity as a salesperson of Plaintiff.

      25. However, Defendant stole the two computer monitors, mirror, confidential business forms, and

          listings that rightfully belonged to Plaintiff pursuant to the terms of the Purchase Agreement

          and Independent Contractor Agreement. As a result, Defendant appropriated the property to a

          use other that which it was entrusted—for Defendant’s personal benefit and for the benefit of

          Plaintiff’s competitor Advantage.

      26. As such, alternatively, Defendant’s wrongful conduct constitutes embezzlement under federal

          law.

      27. Because Defendant incurred the Debt through larceny, or in the alternative embezzlement, the

          Debt is non-dischargeable pursuant to 11 U.S.C. § 523(a)(4).

                                      SECOND CLAIM FOR RELIEF
                              11 U.S.C. § 523(a)(6) – Willful and Malicious Injury

      28. Plaintiff realleges the allegations contained in the foregoing paragraphs as if fully set forth

          herein.

      29. Defendant committed the following acts which caused substantial financial harm to Plaintiff:

          (1) copying confidential business forms of Plaintiff; (2) stealing Plaintiff’s listings for the sale

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          of client businesses; (3) stealing Plaintiff’s personal property; and (4) usurping Plaintiff’s

          business brokerage opportunities through the Advantage platform including the presentation

          of potential buyers of businesses. The foregoing acts were prohibited by the clear terms of the

          Purchase Agreement and Independent Contractor Agreement.

      30. Defendant committed the above-referenced acts with the subjective motive to cause harm to

          Plaintiff or with objective substantial certainty that it would cause harm to Plaintiff. As such,

          the above-referenced acts are “willful and malicious.”

      31. As a result of Defendant’s acts, Plaintiff suffered financial injury. Specifically, Plaintiff lost

          commissions from the sales transactions that were closed by Defendant during the period of

          November 2018 to May 18, 2021 (the “Debt”).

      32. Further, the injury was not substantially justified.

      33. Because Defendant incurred the Debt through willful and malicious injury to Plaintiff, the Debt

          is non-dischargeable pursuant to § 523(a)(6).

      34. Plaintiff should be entitled to recover its reasonable and necessary attorney’s fees pursuant to

          the Purchase Agreement and Independent Contractor Agreement.

      35. WHEREFORE, Plaintiff prays for judgment against Defendant in in favor of Plaintiff as

          follows:

               a. On the First Claim for Relief, adjudging Defendant liable for an amount to be

                    determined at trial and that such amount is non-dischargeable pursuant to 11 U.S.C. §

                    523(a)(4);

               b. On the Second Claim for Relief, adjudging Defendant liable for an amount to be

                    determined at trial and that such amount is non-dischargeable pursuant to 11 U.S.C. §

                    523(a)(6);
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               c. For Plaintiff’s reasonable attorney fees, costs and disbursements incurred herein; and

               d. For such other and further relief, both in law and in equity, to which Plaintiff may be

                    justly entitled.



                                             Respectfully submitted:

                                             By: /s/ Craig A. Albert
                                                     Craig A. Albert (Admitted Pro Hac Vice)
                                                     Catherine B. Baldo (Admitted Pro Hac Vice)
                                                     Christopher N. Coyle, OSB #073501

                                             Attorneys for VL Wallace Investments, LLC d/b/a
                                             Transworld Business Advisors of North DFW




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2 CIT SOS ESERVE                             Exhibit A                                                                 FILED
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                                                                                                            DISTRICT CLERK
                                                                                                         DALLAS CO., TEXAS
                                                                                                  Belinda Hernandez DEPUTY


                                         CAUSE NO. DC-20-06544

       VL WALLACE INVESTMENTS, LLC                       §              IN THE DISTRICT COURT
       dba TRANSWORLD BUSINESS                           §
       ADVISORS OF NORTH DFW                             §
                                                         §
             Plaintiff,                                  §
                                                         §
       v.                                                §
                                                         §              134th JUDICIAL DISTRICT
       TIFFANY SWARTZ aka TIFFANY                        §
       YORDY nka TIFFANY TAVERNIER;                      §
       SWARTZ BROKERAGE, LLC; SCOTT                      §
       W. HARTMAN; HARTMAN                               §
       INVESTMENTS LLC; and ADVANTAGE                    §
       BUSINESS BROKERS, LLC                             §
                                                         §              DALLAS COUNTY, TEXAS
             Defendants.



                      PLAINTIFF’S FIRST AMENDED PETITION
       (INCLUDING APPLICATION FOR TEMPORARY & PERMANENT INJUNCTIONS)


      TO THE HONORABLE COURT:

             Plaintiff VL Wallace Investments, LLC dba Transworld Business Advisors of North DFW

      (“Plaintiff”) files its First Amended Petition against Defendants Tiffany Swartz aka Tiffany Yordy

      nka Tiffany Tavernier; Swartz Brokerage, LLC; Scott W. Hartman; Hartman Investments, LLC;

      and Advantage Business Brokers, LLC (collectively “Defendants”), and respectfully shows as

      follows:

                                                   I.
                                               DISCOVERY

             1.      Discovery should be conducted under Level Two pursuant to Rule 190.

                                                   II.
                                          RULE 47 STATEMENT

             2.      As prescribed by Rule 47, in addition to injunctive relief, Plaintiff seeks monetary



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relief over $1,000,000.

                                           III.
                                      SUMMARY OF CASE

       3.      In May 2018, Tiffany Swartz sold the assets of her business brokerage company to

Plaintiff. As the most important part of the sale transaction, Ms. Swartz agreed not to compete

within the State of Texas and for reasonable length of time. In the negotiated price for the business,

Plaintiff paid a premium for this assurance that Ms. Swartz would be with her (as a producing

Salesperson) rather than competing against her.

       4.      As is a common practice in such asset sales of an operating business, the continued

(and even enhanced) production of the Seller is the most significant single influencer over the

price. Without that commitment, the business itself was worthless, as it was saddled with debt and

was without any meaningful producer other than Ms. Swartz.

       5.      Not just the Purchase Agreement, but also the Independent Contractor Agreement

establishes this fully-enforceable obligation on the part of Ms. Swartz not to compete with the

business that she just sold to Plaintiff. As a corollary to the non-compete covenants, she also

committed to the confidentiality of the Purchased Assets.

       6.      Despite these enforceable commitments, by late July 2018 (at the latest), it now

appears that Ms. Swartz hatched her plan to steal the customers and confidential information of

Plaintiff, and to go into competition with Plaintiff, with the help of her new best friend Scott W.

Hartman. In or about November 2018, Mr. Hartman caused his company Hartman Investments to

buy a competing business brokerage firm Advantage Business Brokers, seemingly to allow Ms.

Swartz to “straddle the fence” to toss over the ill-gotten fruit “picked from the tree” of Plaintiff.

       7.      Armed with the help of her email address with Plaintiff and Plaintiff’s contacts and

forms, as well as the support of her newly-anointed life-long friend (Mr. Hartman), Ms. Swartz



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has now raided Plaintiff’s business (falsely anointing herself on LinkedIn as “CEO at Transworld

Business Advisors of North DFW”). As a result, Plaintiff seeks intervention of this Court to

impose an injunction and to recover damages, including the disgorgement of profit and forfeiture

of fees, from all of Defendants, as all have knowingly aided in this grand fiduciary breach.

                                             IV.
                                    PARTIES AND SERVICE

       8.      Plaintiff VL Wallace Investments, LLC dba Transworld Business Advisors of

North DFW (“Plaintiff”) is a Texas limited liability company with its principal place of business

in Collin County, Texas. Plaintiff may be served by means of the undersigned counsel.

       9.      Defendant Tiffany Swartz aka Tiffany Yordy nka Tiffany Tavernier (“Swartz”) is

an individual who conducts business in the State of Texas, but does not maintain in Texas a regular

place of business or any agency for service of process. As such, Swartz may be served through

the Texas Secretary of State in accordance with Texas Civil Practice and Remedies Code Section

17.044, which requires that duplicate citations be issued to the Secretary of State for service of this

Defendant at her home address of 1723 Southwest Mawrcrest Avenue, Gresham, OR 97080.

       10.     Defendant Swartz Brokerage, LLC (“Swartz Brokerage”) is a Texas limited

liability company and may be served with process of service through its registered agent, United

States Corporation Agents, Inc., 9900 Spectrum Drive, Austin, Texas 78717.

       11.     Defendant Scott W. Hartman (“Scott Hartman”) is an individual residing in Dallas

County, Texas. This Defendant has appeared through the listed counsel of record.

       12.     Defendant Hartman Investments LLC (“Hartman Investments”) is a Delaware

limited liability company with its principal place of business in Collin County. This Defendant

has appeared through the listed counsel of record.

       13.     Advantage Business Brokers LLC (“Advantage Business Brokers”) is a Texas



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limited liability company with its principal place of business in Collin County. This Defendant has

appeared through the listed counsel of record.

                                           V.
                                JURISDICTION AND VENUE

       14.     Jurisdiction is proper in this Court because the amount in controversy exceeds this

Court’s minimum jurisdictional limit.

       15.     Venue is proper in this county given the parties’ selection of Dallas County as the

exclusive venue for all proceedings relating to the Independent Contractor Agreement, as provided

in Section 23 of that agreement. In the alternative, a substantial part of the events or omissions

giving rise to the claims occurred in Dallas County, Texas.

                                           VI.
                                  FACTUAL BACKGROUND

Plaintiff Purchased the Business from Tiffany Swartz and Swartz Brokerage, LLC

       16.     On or about May 15, 2018, for valuable monetary consideration, Plaintiff closed on

the purchase of the business brokerage franchise called Transworld Business Advisors of North

DFW. The terms of the transaction were memorialized in a particular Purchase Agreement

(“Purchase Agreement”) with an Effective Date of May 15, 2018 between Tiffany Swartz and

Swartz Brokerage, LLC (collectively “Seller”) and Vicki Wallace and VL Wallace Investments,

LLC (collectively “Purchaser”).

The Consideration Included Covenants Restricting Tiffany Swartz

       17.     As an integral part of the sale transaction, and in support of the premium amount

paid, which Plaintiff paid for the purchase of these assets, Defendant Tiffany Swartz as Seller,

entered into the following non-compete covenant to Plaintiff in Section 14(e) of the Purchase

Agreement:




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       Non-competition.
       (i)      Seller hereby agrees that from the date of Closing through the date which is the
                later of (x) five (5) years following the Effective Date of this Agreement and (y)
                two (2) years following the Termination of Services Date, Seller and their affiliates,
                including any entity or partnership which is owned in whole or in part by either
                Seller, shall not, in the State of Texas (the “Restricted Area”), absent the written,
                prior consent of Purchaser, (A) directly or indirectly invest in, own, manage,
                operate, finance, participate in, control, advise, render services to, be employed by,
                or serve as a consultant to, guarantee the obligations of, acquire a financial interests
                in any Person engaged in or planning to become engaged in, the Business or a
                business in direct competition with the Business, including any activities involving
                the business brokerage industry and the listing, promotion and purchase and sale
                of third party businesses (collectively, the “Restricted Work”): (B) interfere,
                directly or indirectly, with business relationships (whether formed before or after
                the date of this Agreement) between Purchaser and its customers and clients, or
                otherwise encourage such customers or clients to cease to be a customer or client of
                Purchaser or encourage such customers or clients to do business with Purchaser’s
                competitors; (C) participate in the contacting, solicitation, maintenance or servicing
                of any customer of Purchaser; or (D) work independently to perform Restricted
                Work in the Restricted Area or hire or solicit on Seller’s behalf or any third party’s
                behalf, any of Seller’s or Purchaser’s employees, agents, or contractors to perform
                Restricted Work in the Restricted Area. Seller acknowledges that Purchaser would
                not enter into this Agreement and would not purchase the Purchased Assets if Seller
                did not agree to and comply with the provisions of this Section 14(e).

       (ii)     It is expressly understood and agreed that although Seller and Purchaser consider
                the restrictions contained in this Section 14(e) to be reasonable, if a final judicial
                determination is made by a court of competent jurisdiction that the time or territory
                or any other restriction contained in this Agreement is a restriction not enforceable
                against Seller, then provisions of this Agreement shall not be rendered void but shall
                be deemed amended to apply as to such maximum time and territory and to such
                maximum extent as such court may judicially determine or indicate to be
                enforceable. Alternatively, if any court of competent jurisdiction finds that any
                restriction contained in this Section 14(e) is unenforceable, and such restriction
                cannot be amended so as to make it enforceable, such finding shall not affect the
                enforceability of any of the other restrictions contained herein.

        (iii)   Seller agrees that if it or any of its affiliate engages or threatens to engage in any
                activity that constitutes a violation of the provisions of this Section 14(e), Purchaser
                shall have the right and remedy to have the provisions of this Agreement
                specifically enforced to the extent permitted by law or by any court having
                jurisdiction, it being acknowledged and agreed that any breach of this Agreement
                would cause immediate irreparable injury to Purchaser and that money damages
                would not provide an adequate remedy at law for any breach. Such right and remedy
                shall be in addition to, and not in lieu of, any other rights and remedies available to
                Purchaser at law or in equity.
        (iv)    The provisions of this Section 14(e) shall survive Closing.
(Purchase Agreement, pp. 14-15, Section 14(e) (italics added for emphasis).)


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       18.     The restricted territory of the State of Texas is reasonable, particularly given that

the non-compete covenant was the principal value-adder to this sale of an ongoing business. In

addition, Ms. Swartz sometimes is domiciled in the State of Oregon and thus has potential business

opportunities outside of the State of Texas, which are not prohibited. The restricted business

activity of “the business brokerage industry and the listing, promotion and purchase and sale of

third party businesses” is reasonable, given that Swartz is allowed much latitude to make a living

in other business pursuits. In a sale transaction, this time duration is reasonable as necessary for

the legitimate purpose of protecting the goodwill and confidential information of the business sold

to Plaintiff from the very person who sold Plaintiff the business.

       19.     As an important feature of the sale transaction, Defendant Tiffany Swartz

personally agreed to continue working as a producing Salesperson for the Transworld business

under the terms of a particular Independent Contractor Agreement Between Broker and

Salesperson (“Independent Contractor Agreement”) effective as of May 15, 2018. It would stand

to reason that Ms. Swartz would become an even more dominant business producer when freed

from the responsibilities of owning the business.        Thus, in Section 21 of the Independent

Contractor Agreement, Ms. Swartz agreed as follows:

       During the term of this Agreement and for a period of five (5) years thereafter, Salesperson
       shall not:
              a.   Directly or indirectly, alone or as a partner, officer, director, employee,
                   consultant, agent independent contractor or stockholder, member or partner of
                   any company or business organization, engage in any business brokerage
                   activity in competition with the services provided by the Broker in any county in
                   which Broker conducts business.
              b.   In any capacity, either separately, jointly or in association with others, directly
                   or indirectly, solicit, induce, attempt to hire, or hire any of the Broker’s
                   employees, consultants agents, suppliers, clients, customers or prospects that
                   were such with respect to the Broker at any time during the one year immediately
                   preceding the date of the Agreement’s termination or that become such with
                   respect to the Broker at any time during the one (1) year immediately following
                   the date of the Agreement’s termination, or assist in such hiring by any other


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                    person or business entity or encourage any such employee to terminate his or its
                    relationship with the Broker.
               c.   Divert or attempt to divert from the Broker the business or patronage of any of
                    its customers, clients or accounts or any prospective customers or accounts that
                    were such with respect to the Broker during the term of the Agreement and on
                    whose matters Salesperson worked during the term hereof.
(Independent Contractor Agreement p. 3, Section 21 (italics added for emphasis).)

       20.     The territory of this non-compete covenant is restricted to “business brokerage

activity . . . in any county in which Broker conducts business,” which is a geographical area

consisting of seven franchise areas. Upon completion of the all-Texas territory restriction under

the Purchase Agreement, that seven-territory restriction would be reasonable; yet, at the present,

Ms. Swartz is still subject to the full-state restriction, which is particularly reasonable given that

the transaction was for the sale of the assets of an ongoing business. The restriction as to the

business brokerage industry is narrow enough such that Ms. Swartz can still make a living. In a

sale transaction, this time duration is reasonable as necessary for the legitimate purpose of

protecting the goodwill and confidential information of the business from any threats from the

very person who sold Plaintiff the business.

       21.     The Purchased Assets acquired by Plaintiff included “all . . . documents, paperwork,

and other records that relate to the operation of the Business, the Intellectual Property and the

Tangible Personal Property, including all documents provided by Franchisor to Seller, including

marketing lists, business lists and data, marketing materials and manuals.” (Purchase Agreement

p. 2, Section 1(g).) As a reasonable means for Plaintiff to protect the value of these Purchased

Assets, Defendant Tiffany Swartz agreed: “Seller shall treat as confidential, and not disclose

without Purchaser’s written consent, any information regarding the Sale Transaction, the

Purchased Assets or Purchaser . . . .” (Purchase Agreement p. 18, Section 16.)




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Tiffany Swartz Decided Wrongfully to Take What Belonged to Plaintiff

         22.   Despite the above-cited covenants made by Tiffany Swartz in the Purchase

Agreement and in the Independent Contractor Agreement, Ms. Swartz embarked on a campaign

(shortly after the transaction) to steal the customers of Plaintiff and to compete unlawfully (even

while a Salesperson for Plaintiff), in some instances with the use of Plaintiff’s own Confidential

forms.

         23.   In her own words under oath, Ms. Swartz “started transitioning out of [Transworld]

when I decided to go over to Advantage [Business Brokers] . . . starting about three months ago .

. . probably about December, November [2018] maybe.” (Transcript of Deposition of Tiffany

Swartz, p. 20, given on February 25, 2019 in the case styled as Chapter Two Enterprises, Inc. v.

Scott Hartman and Hartman Investments, LLC as Cause No. 429-05086-2018 pending in the 429th

District Court of Collin County, Texas.) Remarkably, this was just six to seven months after she

sold the business to Plaintiff, and well within the restriction periods imposed by the Purchase

Agreement and Independent Contractor Agreement. In such a short time, she could not possibly

have forgotten her covenants.

         24.   In her sworn deposition, Ms. Swartz characterized her work with Defendant Scott

Hartman’s newly-acquired Advantage Business Brokers as “some side work as a business broker

. . .” (Swartz Deposition p. 11.) Notably, the scope of her work for Advantage Business Brokers

was identical to that for which she was committed to Plaintiff: “I help, you know, list business for

sale. Work as part of a team with two other people . . . Businesses reach out to me looking to sell

their business. So I meet with them . . . Putting buyers and sellers together, things of that nature.”

(Swartz Deposition pp. 11-13.) Unbelievably, as of her February 2019 deposition (just nine

months after the commencement of her Independent Contractor Agreement with Plaintiff), Ms.

Swartz denied altogether that she was employed by any other business. (Swartz Deposition p. 12.)


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(This is made more startling for the fact that Plaintiff paid Ms. Swartz a commission as recently

as December 2019.)

       25.     In an email of May 1, 2019, Defendant Scott Hartman exuded the depth of the

couple’s connection: “You and I will create a great company and more importantly you and I will

be life long friends!!!”

For Starters, Swartz Stole Plaintiff’s Business Forms

       26.     As a foundational part of her scheme, Ms. Swartz built her bank of business forms

on the back of Plaintiff and its franchisor. Ms. Swartz copied nearly word-for-word and line-by-

line the Confidential business forms. From her email address with Plaintiff (tswartz@tworld.com),

she launched several Confidential business forms, which she had converted to show the banner for

Advantage Business Brokers (The Yordy Acosta Group). These Confidential documents included

Plaintiff’s forms entitled: Business Profile / Seller Questionnaire; Marketing Agreement; and

Broker Confidentiality Agreement with Seller.

Swartz Stole Plaintiff’s Listings for the Sale of Client Businesses

       27.     While a Salesperson for Plaintiff (and thus fully within the restricted period under

both the Purchase Agreement and the Independent Contractor Agreement), Ms. Swartz represented

the clients of Plaintiff which had listed their businesses for sale with Plaintiff. By way of example,

she closed sale transactions for Plaintiff’s clients, Imperial Maids, Salerno’s Restaurant, and Wolf

Collections, with no compensation being paid to Plaintiff.

       28.     The sale of the Imperial Maids business closed on January 31, 2020.               This

transaction was the subject of a signed Marketing Agreement with Plaintiff, which was counter-

signed by Vicki Wallace as “Officer” of Plaintiff and counter-signed by Ms. Swartz as “Agent”

for Plaintiff. This transaction had been featured by Plaintiff in a Confidential Business Summary,

which procured a particular letter of intent, which in turn, matured into this sale.


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        29.    The sale of Salerno’s Restaurant, upon information and belief, closed on or about

January 31, 2020. Similar to Imperial Maids, the seller contracted with Plaintiff. However,

subsequent to that contract, Ms. Swartz “moved” the seller to Defendant Advantage Business

Brokers (The Yordy Group), as evidenced by a Broker’s Confidentiality Agreement with Seller

and a letter of intent.    Nonetheless, throughout the transaction, Ms. Swartz utilized her

“tswartz@tworld.com” email address as her means of contact.

        30.    Even exclusive listings mentioned in the transaction documents were not safe from

Ms. Swartz’s raid. Though the listing with Wolf Collections was expressly identified as a

Purchased Asset, Swartz closed that high-dollar transaction, with no compensation being paid to

Plaintiff.

        31.    Yet, that’s not all. Also in 2020, Defendant Tiffany Swartz has approached other

clients which are under exclusive listing agreements with Plaintiff. (Given the confidential nature

of these pending transactions, the identity of the seller and business is not revealed in this

pleading.) In an effort to procure a willing buyer, Ms. Swartz has made presentations to these

clients of Plaintiff on documents bearing the banner of Defendant Advantage Business Brokers

(Yordy Group).

Swartz Has Usurped Other Business Brokerage Opportunities

        32.    On July 30, 2018, Defendant Tiffany Swartz agreed to co-broker (splitting

commissions 50/50) the sale of a metal works business for a list price of $3,500,000. While it is

unclear what transpired in the interim, on February 6, 2020, the 2019 financials for the business

were provided to Ms. Swartz at her email address for Plaintiff (tswartz@tworld.com). Upon

information and belief, Ms. Swartz has participated (or is participating) in the sale of the metal

works business, though no compensation has been paid to Plaintiff.

        33.    On December 7, 2018, Defendant Tiffany Swartz signed a Marketing Agreement


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on behalf of Defendant Advantage Business Brokers with a seller of an Irving-based limited

liability company with a list price of $300,000. Needless to say, Plaintiff has seen no compensation

from that transaction (if it in fact has closed).

        34.     On July 8, 2019, Ms. Swartz signed a Buyer Representation Agreement (displaying

the banner of Defendant Advantage Business Brokers). The prospective buyer was interested in

purchasing a laundromat. Upon the prospective buyer signing the form, Joseph Yordy sent the

fully-executed agreement to Ms. Swartz at tswartz@tworld.com.

        35.     On October 4, 2019, Ms. Swartz published a Confidential Business Summary

showing for Imponente Pizza & Pasta LLC, showing herself as the listing broker at Defendant

Advantage Business Brokers. Her email message showing the presentation was launched from

her email address with Plaintff (tswartz@tworld.com), along with her signature block as “Senior

Business Advisor/Broker at Transworld Business Advisors of North DFW” at Plaintiff’s address.

        36.     By competing in the same space, and by attempting to divert business from

Plaintiff, Defendant Tiffany Swartz has committed brazen violations of the above-cited provisions

of the Purchase Agreement and the Independent Contractor Agreement. In terms of proof, it is not

ultimately necessary for Plaintiff to show that the deals initially were booked as the listings of

Plaintiff; nonetheless, that background underscores the egregious conduct of Defendant Tiffany

Swartz – her total disregard for the rule of law.

        37.     As a result of the above-described conduct, all of which constitutes a material

breach of the Purchase Agreement, Plaintiff withheld the final installment payment of $10,000,

which had been due by December 15, 2019. The next day, upon Plaintiff’s principal confronting

Ms. Swartz with the now-apparent truth, Ms. Swartz said she “quit” and then she wrongfully

removed and stole two computer monitors and a mirror from Plaintiff’s offices.

        38.     As a continued act of reprisal against Plaintiff, to this day, Ms. Swartz holds herself


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out on LinkedIn as the “CEO at Transworld Business Advisors of North DFW.” She has not been

the CEO since the asset sale of May 15, 2018. She has not been with Transworld since she quit

on December 16, 2019.

                                                VIII.
                                          CAUSES OF ACTION

COUNT 1 – Breach of Contract (Tiffany Swartz and Swartz Brokerage)

       39.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.

       40.     There are two valid, enforceable contracts: (a) the Purchase Agreement; and (b) the

Independent Contractor Agreement, which set out specific non-compete covenants and

confidentiality obligations.

       41.     Plaintiff is the proper party to bring suit for breach of these contracts.

       42.     Plaintiff has performed, tendered performance of, or was excused from performing

its contractual obligations.

       43.     The non-compete covenants (contained within the Purchase Agreement and the

Independent Contractor Agreement) meet the following criteria: (a) they are ancillary to an

otherwise valid transaction, specifically the sale transaction by which Swartz sold her business to

Plaintiff, which gives rise to an interest worthy of protection; (b) the restraint is not greater than

necessary to protect Plaintiff’s legitimate interest in its goodwill and confidential information; it

is appropriately limited as to time, territory, and type of activity; and (c) Plaintiff’s need for

protection is not outweighed by either the hardship to Plaintiff nor any injury likely to the public.

       44.     Given that the non-compete covenants were given in consideration of the sale of a

business, they have a primary purpose different than for the rendering of personal services.

Accordingly, Swartz has the burden of establishing that these covenants do not meet the above-



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stated three criteria, which burden Swartz cannot sustain.

       45.     In the unlikely event that the non-compete covenants are not appropriately limited,

Plaintiff requests that this Court (sitting in equity) modify and enforce the covenants to the extent

necessary to protect Plaintiff’s legitimate business interests.

       46.     By the above-described conduct, Tiffany Swartz and Swartz Brokerage have

materially breached Section 14(e) of the Purchase Agreement and Section 16 of the Purchase

Agreement.

       47.     By the above-described conduct, Tiffany Swartz has materially breached Section

21 of the Independent Contractor Agreement.

       48.     As a result of these breaches, Plaintiff has sustained direct damages, consequential

damages, and incidental damages, including but not limited to the loss of net income, which

Plaintiff is entitled to recover from Swartz and Swartz Brokerage.

       49.     As a result of these breaches, Plaintiff was compelled to retain the undersigned legal

counsel. Pursuant to Section 17(l) of the Purchase Agreement and Section 23 of the Independent

Contractor Agreement, Plaintiff is entitled to recover reasonable attorney’s fees and costs from

Swartz and Swartz Brokerage.

       50.     In addition, pursuant to Section 17(l) of the Purchase Agreement, Plaintiff is

entitled to recover expert witness fees from Swartz and Swartz Brokerage.

       51.     Finally, pursuant to Section 23 of the Independent Contractor Agreement, Plaintiff

is entitled to recover expenses from Swartz.

COUNT 2 – Breach of Fiduciary Duty (Tiffany Swartz)

       52.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.

       53.     While a Salesperson for Plaintiff, Tiffany Swartz has owed Plaintiff a formal


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fiduciary duty, including a duty of loyalty and utmost good faith, a duty of candor, a duty to refrain

from self-dealing, a duty to act with integrity of the strictest kind, a duty of fair and honest dealing,

and a duty of full disclosure.

        54.     Despite these commonly-understood fiduciary duties, Swartz has actively worked

to compete with Plaintiff, to divert business away from Plaintiff to herself and to Advantage

Business Brokers, and to hide the truth. Given the self-interested nature of Swartz’s actions, the

burden of proof shifts to Swartz to prove that:

          a.    The transactions in question were fair and equitable to Plaintiff; and

          b.    Swartz made reasonable use of the confidence that Plaintiff placed in her; and

          c.    Swartz acted in the utmost good faith and exercised the most scrupulous honesty
                toward Plaintiff; and

          d.    Swartz placed the interests of Plaintiff before her own, did not use the advantage of
                her position to gain any benefit for herself at the expense of Plaintiff, and did not
                place herself in any position where her self-interest might conflict with her
                obligations as a fiduciary; and

          e.    Swartz fully and fairly disclosed all important information to Plaintiff concerning
                the transactions.

        55.     In addition, Swartz has usurped company opportunities of Plaintiff by taking

business, which was the reasonable expectancy of Plaintiff.

        56.     Swartz’s breaches of fiduciary duty have resulted in injury to Plaintiff.

        57.     Plaintiff is entitled to recover from Swartz direct damages, consequential damages,

and incidental damages, as well as profit disgorgement and fee forfeiture. As a result, Plaintiff

seeks an accounting and return of funds including, but not limited to, the return of all compensation

paid by Plaintiff to Swartz and all compensation paid by others to Swartz and Advantage Business

Brokers (as a result of Swartz’s actions during the ongoing period of disloyalty).

        58.     Plaintiff will establish by clear and convincing evidence that Swartz’s fiduciary




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breaches were committed with malice, that is a specific intent to cause substantial injury or harm

to Plaintiff. Accordingly, Plaintiff will be entitled to recover exemplary damages from Swartz

pursuant to Texas Civil Practice & Remedies Code Section 41.003(2).

COUNT 3 – Malicious Conversion of Personal Property (Tiffany Swartz)

       59.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.

       60.     Plaintiff owned, possessed, and had the right to possession of particular personal

property, specifically the two computer monitors and the mirror.

       61.     Defendant Tiffany Swartz wrongfully exercised dominion or control over that

property.

       62.     As a result, Plaintiff has suffered injury.

       63.     Plaintiff will establish by clear and convincing evidence that Defendant committed

this conversion with malice, that is a specific intent to cause substantial injury or harm to Plaintiff.

Accordingly, Plaintiff will be entitled to recover exemplary damages from Swartz pursuant to

Texas Civil Practice & Remedies Code Section 41.003(2).

COUNT 4 – Violation of Texas Theft Liability Act (Tiffany Swartz)

       64.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.

       65.     Defendant Tiffany Swartz committed theft against Plaintiff by unlawfully

appropriating personal property, specifically the two computer monitors and the mirror.

       66.     Pursuant to Section 134.003(a) of the Texas Civil Practice & Remedies Code, Ms.

Swartz is liable for the damages to Plaintiff resulting from the theft.

       67.     Pursuant to Section 134.005(a)(1) of the Texas Civil Practice & Remedies Code, in

addition, as a civil penalty, Ms. Swartz is liable to Plaintiff in an amount equal to the damages


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awarded by the trier of fact in a sum not to exceed $1,000.

        68.    Pursuant to Section 134.005(b) of the Texas Civil Practice & Remedies Code, in

addition, Ms. Swartz is liable to Plaintiff for court costs and reasonable and necessary attorney’s

fees.

COUNT 5 – Business Disparagement (Tiffany Swartz)

        69.    Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.

        70.    Every day since the time of her resignation on December 16, 2019, Swartz has

falsely published on LinkedIn to the business community (in which she operates) that she is still

associated with Plaintiff as the “CEO at Transworld Business Advisors of North DFW.” Swartz

has not been associated with Transworld since December 16, 2019 when she quit. Nor has Swartz

been the CEO of the company since the sale date of May 15, 2018. These constant, disparaging

communications are detrimental to Plaintiff’s economic interests, as undermining the brand of the

company and the leadership of its principal.

        71.    The cited words are clearly false.

        72.    Swartz published the words with malice – to spite Plaintiff and its principal.

        73.    Swartz published the words without privilege.

        74.    The publication has caused and continues to cause special damages to Plaintiff.

COUNT 6 – Tortious Interference with Contract (Advantage Business Brokers, Hartman
Investments, and Scott Hartman)

        75.    Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.

        76.    Both the Purchase Agreement and the Independent Contractor Agreement are valid,

enforceable contracts, which are subject to interference.



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       77.     Advantage Business Brokers, Hartman Investments, and Scott Hartman committed

multiple acts of interference which were willful and intentional, given that there was a manifest

desire to interfere with these contracts, or alternatively, given that there were acts done with the

belief that interference was substantially certain to result.

       78.     The interference prevented the performance of the contracts, or alternatively, made

performance of such contracts more burdensome or more difficult.

       79.     The acts were a proximate cause of Plaintiff’s damages, including consequential

damages and incidental damages.

COUNT 7 – Knowing Participation in Breach of Fiduciary Duty (Advantage Business
Brokers, Hartman Investments, and Scott Hartman)

       80.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.

       81.     Advantage Business Brokers, Hartman Investments, and Scott Hartman knew that

Swartz owed fiduciary duties to Plaintiff. These Defendants knowingly participated in the

breaches of fiduciary duty committed by Swartz, and by doing so, aided and abetted in the

breaches.

       82.     As a result, these Defendants are liable with Swartz as joint tortfeasors, and thus,

are jointly and severally liable for the damages caused to Plaintiff, including direct damages,

consequential damages, and incidental damages, as well as profit disgorgement and fee forfeiture.

As a result, Plaintiff seeks an accounting and return of funds including, but not limited to, the

return of all compensation paid by Plaintiff to Swartz and all compensation paid by clients to

Swartz and/or Advantage Business Brokers (as a result of Swartz’s actions during the ongoing

period of disloyalty).

       83.     Plaintiff will establish by clear and convincing evidence that the knowing



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participation in breach of fiduciary duty was committed with malice. Accordingly, Plaintiff will

be entitled to recover exemplary damages from these Defendants pursuant to Texas Civil Practice

& Remedies Code Section 41.003(2).

COUNT 8 – Civil Conspiracy (All Defendants)

       84.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.

       85.     All Defendants are members of a combination of two or more persons.

       86.     The object of the combination was to accomplish: (a) an unlawful purpose; or (b) a

lawful purpose by unlawful means.

       87.     The members had a meeting of the minds on the object or course of action.

       88.     One of the members committed an unlawful, overt act to further the object or course

of action. The unlawful, overt acts include the above-described breaches of fiduciary duty,

conversion, theft, and business disparagement.

       89.     As a proximate result of the wrongful acts, Plaintiff has suffered direct damages,

consequential damages, and incidental damages, which it is entitled to recover from all Defendants

jointly and severally.

       90.     Plaintiff will establish that it is entitled to recover exemplary damages from all

Defendants, which participated in this civil conspiracy, pursuant to Texas Civil Practice &

Remedies Code Section 41.003(2).

COUNT 9 – Injunctive Relief

       91.     Pursuant to Rule 58 of the Texas Rules of Civil Procedure, Plaintiff reasserts the

allegations contained in the above paragraphs as if fully set forth herein.




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Application for Temporary Injunction

          92.   There is a substantial likelihood that Plaintiff will prevail on the merits because of

the unlawful behavior of Defendants in causing damages for which there is no adequate remedy at

law.

          93.   Plaintiff has no adequate remedy at law for the injuries just described. Injunctive

relief under these circumstances is allowed under Texas Civil Practice & Remedies Code Sections

65.011.

       94.      It is essential that the Court temporarily restrain Defendants during the pendency

of the case because Plaintiff’s rights are threatened due to Defendants’ actions.

          95.   As contemplated by Section 14(e) of the Purchase Agreement, Swartz has agreed

that “any breach of this Agreement would cause immediate irreparable injury to Purchaser and that

money damages would not provide an adequate remedy at law for any breach.” (Purchase

Agreement, p. 15, Section 14(e).)

          96.   Also as contemplated by Section 23 of the Independent Contractor Agreement,

Swartz has agreed that “money damages alone will not adequately compensate Broker [Plaintiff]

for breach of any covenants and agreements herein and, therefore, agrees that in the event of a

breach or threatened breach of any such covenant or agreement contained herein, Broker [Plaintiff]

may obtain, in addition to any such other legal remedies which may be available, obtain such

equitable relief as may be necessary to protect Transworld against any such breach or threatened

breach, including, without limitation, injunctive relief and/or specific performance compelling

compliance with the terms herein.” (Independent Contractor Agreement, p. 3, Section 23.)

       97.      In order to preserve the status quo and the rights of Plaintiff during the pendency

of this action, Defendants should be cited to appear and show cause why they should not be

temporarily restrained, during the pendency of this action, from: (a) all Defendants appropriating


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Plaintiff’s Confidential information and materials including forms; (b) all Defendants posting or

otherwise publicizing (through correspondence, forms, internet postings, social media such as

LinkedIn, verbally, or otherwise) that Swartz is associated with Transworld Business Advisors or

is the CEO of Plaintiff; (c) Swartz competing in the State of Texas in the “business brokerage

industry and the listing, promotion and purchase and sale of third-party businesses” and interfering

between Plaintiff and its customers or contacting those customers; and (d) all Defendants other

than Swartz assisting Swartz in, or benefiting from Swartz, competing in the State of Texas in the

“business brokerage industry and the listing, promotion and purchase and sale of third-party

businesses” and interfering between Plaintiff and its customers or contacting those customers.

        98.    Plaintiff is willing to post the required bond prescribed by the Court. Plaintiff

requests that the bond be set at a de minimis amount.

Application for Permanent Injunction
        99.    Plaintiff asks the Court to set its application for permanent injunction for a full trial

on the merits and, after the trial, issue a permanent injunction against Defendants enjoining them

from:    (a) all Defendants appropriating Plaintiff’s Confidential information and materials

including forms; (b) all Defendants posting or otherwise publicizing (through correspondence,

forms, internet postings, social media such as LinkedIn, verbally, or otherwise) that Swartz is

associated with Transworld Business Advisors or is the CEO of Plaintiff; (c) Swartz competing in

the State of Texas in the “business brokerage industry and the listing, promotion and purchase and

sale of third-party businesses” and interfering between Plaintiff and its customers or contacting

those customers; and (d) all Defendants other than Swartz assisting Swartz in, or benefiting from

Swartz, competing in the State of Texas in the “business brokerage industry and the listing,

promotion and purchase and sale of third-party businesses” and interfering between Plaintiff and

its customers or contacting those customers, for a length of time reflective that Swartz’s violations


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of the restrictions automatically toll and suspend the period of restraint for the amount of time that

the violations continues.

       100.    Plaintiff believes that it has joined all indispensable parties under Rule 39 of the

Texas Rules of Civil Procedure.

                                             PRAYER

       WHEREFORE Plaintiff VL Wallace Investments, LLC dba Transworld Business Advisors

of North DFW prays that upon trial, the Court enter judgment in its favor and against Defendants

Tiffany Swartz aka Tiffany Yordy nka Tiffany Tavernier; Swartz Brokerage, LLC; Scott W.

Hartman; Hartman Investments LLC; and Advantage Business Brokers LLC as follows:

           1. An award of actual damages and the injunctive relief specified herein;

           2. In the alternative, and in the unlikely event that the scope of the non-compete
              provisions is not reasonable or is judged to be greater than necessary to protect
              Plaintiff’s legitimate business interests, then reformation of the non-compete
              provisions so that they are enforceable;

           3. An award of exemplary damages as allowed by law against Tiffany Swartz and
              against those Defendants found to have participated with him in a civil conspiracy;

           4. An award of reasonable attorney’s fees and costs pursuant to Chapter 38 of the
              Texas Civil Practice & Remedies Code, pursuant to Section 17(l) of the Purchase
              Agreement, pursuant to Section 23 of the Independent Contractor Agreement, and
              pursuant to Section 134.005(b) of the Texas Civil Practice & Remedies Code;
           5. An award of expert witness fees pursuant to Section 17(l) of the Purchase
              Agreement;
           6. An award of expenses pursuant to Section 23 of the Independent Contractor
              Agreement;
           7. Pre-judgment and post-judgment interest, as allowed by law; and

           8. All other relief at law and equity to which Plaintiff may be entitled.




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                                              Respectfully submitted,
                                              CHERRY PETERSEN LANDRY ALBERT LLP

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                                              ATTORNEYS FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served on all counsel
of record, via electronic filing, on July 2, 2020.

 Francis B. Majorie
 The Majorie Firm Ltd.
 1450 Cottonwood Valley Court
 Irving, Texas 75038
 Email: fbmajorie@themajoriefirm.com
 Counsel for Scott W. Hartman, Hartman
 Investments and Advantage Business Brokers




                                              /s/ Craig A. Albert
                                              Craig A. Albert




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